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Direct Dial + 202 626 3696   alau@whitecase.com


         October 29, 2013


         VIA ECF

         Honorable Samuel Conti
         Senior District Judge
         United States District Court
         Northern District of California
         Courtroom 1, 17th Floor
         450 Golden Gate Avenue
         San Francisco, CA 94123

         Re:     In Re: Cathode Ray Tubes (CRT) Antitrust Litigation, Case No. 07-5944 SC,
                 MDL No. 1917 (N.D. Cal.): Toshiba Defendants’ Response To Plaintiffs’ October 15,
                 2013 Letter Seeking Discovery Order And To Strike Errata


         Dear Judge Conti:

                  We write in response to the Plaintiffs’ October 15, 2013 letter that seeks an order to limit
         all future deposition objections to “object to form” and further seeks to strike certain entries from
         the errata sheet associated with the deposition of Toshiba Corporation witness, Yasuki
         Yamamoto. Although full of hyperbole and rhetoric, the Plaintiffs’ letter fails to establish
         entitlement to the requested relief. As such, the Court should not grant the Plaintiffs the relief
         they seek or any relief whatsoever.

                 As to deposition objections, the Plaintiffs complain about “ongoing obstructionist
         deposition tactics” (Pl. Letter at 1), yet focus their attention entirely on three depositions that
         occurred in June and July of this year. Since the time that Judge Legge offered his guidance
         during the deposition of Mr. Yamamoto, Toshiba attorneys have participated in eight
         depositions. The Plaintiffs, however, only complain about objections made by Toshiba’s counsel
         during one of these eight depositions; the record shows that Toshiba’s counsel lodged objections
         appropriately — concisely and in a non-argumentative and non-suggestive manner — during that
         deposition. As we explained in our September 30, 2013 letter to the Court, Toshiba’s counsel
         has followed Judge Legge’s guidance. Thus, limiting deposition objections to “object to form”
         solves no problem because no problem exists; rather, such a limitation prejudices the Toshiba
         Defendants because many of the cases that are part of this MDL will be remanded to
         jurisdictions that require specific deposition objections, not simply “object to form” objections.
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             As to the errata sheet entries for Mr. Yamamoto’s deposition transcript, the Plaintiffs
      have provided no justification for the relief they seek. Rule 30(e) of the Federal Rules of Civil
      Procedure allows a witness to make changes in “form or substance” to deposition transcripts.
      The changes made by Mr. Yamamoto fall within the parameters of this rule.

      I.     The Plaintiffs Have Not Identified Any Conduct That Justifies Their Request To
             Limit Deposition Objections To “Object To Form”

             A.      Counsel For Toshiba Have Responded Appropriately To Judge Legge’s
                     Guidance Concerning Deposition Objections

             The Plaintiffs’ letter is based upon their unsupported assertion that there is a “growing
      problem” at the depositions in this case, whereby counsel for Toshiba are engaging in
      “obstructionist behavior” through their use of deposition objections. No such problem exists.

              As an initial matter, we regret that the Court has to devote any time to this issue. We
      have attempted to confer with the Plaintiffs in good faith to assuage their concerns. More
      importantly, we have sought to conduct ourselves in a professional manner in depositions, and
      will continue to do so in the future. We take seriously our obligations as officers of the Court.
      Nonetheless, the Plaintiffs went forward with their letter, so we feel obliged to respond in some
      detail.

             Much of the Plaintiffs’ letter is devoted to the depositions of Toshiba Corp. employees
      Kazuhiro Nishimaru (which took place on June 26 – 28, 2013) and Yasuki Yamamoto (which
      took place on July 1 – 3, 2013). Dissatisfied with the objections made by Toshiba’s counsel
      during the deposition of Mr. Yamamoto, on July 2, 2013, the second day of that deposition,
      counsel for the Plaintiffs recessed the deposition and placed a call to Special Master Legge to
      discuss the issue. Although the transcript of the call is inexplicably incomplete, Judge Legge’s
      observations can be summarized succinctly.

              After hearing argument from both sides, Judge Legge said that he could not make a ruling
      without seeing the transcript. He said that the parties had several options: they could stop the
      deposition and continue it in front of him or another judge; they could stop the deposition and
      file a motion; or they could continue the deposition. Judge Legge said that, should the parties
      choose to continue the deposition, it should be conducted under the following conditions:
      objections should be one to two words each (“Form, ambiguous, form, or whatever it is”
      (Yamamoto Tr. at 256:25 – 257:1 (Pl. Ex. A)); the parties should not make any substantive
      objections because all of them are preserved; attorneys should not direct the witness to abstain
      from answering unless it is for privilege; and parties should use the phrase “same objection”
      where appropriate. During the call, Toshiba’s counsel touched upon improper conduct by
      Plaintiffs’ counsel during the deposition, including bullying the witness (by reminding him of his
      oath after hearing an unsatisfactory answer) and trying to rush the witness when reviewing
      documents. Judge Legge said that either party could file a motion addressing the conduct of the
      other party, but specifically warned all parties that the losing party would be sanctioned. That
      deposition continued without incident. No party filed papers with Judge Legge upon its
      completion.
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              Thus, although not noted by the Plaintiffs in their letter, both sides raised behavioral
      issues during the conference call with Judge Legge. Whatever the merits of those issues, there is
      no legitimate complaint about the behavior of any Toshiba counsel since that time.

              In their letter, the Plaintiffs complain about objections made by Toshiba’s counsel during
      three depositions: the June 26 – 28, 2013 deposition of Mr. Nishimaru; the July 1 – 3, 2013
      deposition of Mr. Yamamoto; and the July 24 – 26, 2013 deposition of Samsung SDI’s Jae In
      Lee. The deposition of Mr. Nishimaru occurred before the July 2 conference call with Judge
      Legge; as a result, we did not have the benefit of Judge Legge’s guidance for purposes of that
      deposition. With respect to the deposition of Mr. Yamamoto, the Plaintiffs only complain about
      objections that occurred before the Plaintiffs called Judge Legge; again, we did not have the
      benefit of Judge Legge’s guidance for the early part of that deposition.

              With respect to the Jae In Lee deposition, the Plaintiffs make the conclusory statement
      that Toshiba’s counsel made “thousands” of objections “for a witness he did not even represent.”
      Pl. Letter at 2. By this argument, the Plaintiffs ignore the fact that this case involves joint-and-
      several liability. Consequently, all defense counsel need to be vigilant during the course of all
      depositions. Not only did the objections comply with the discovery and case management
      protocol, but the objections did not overlap with the objections of Mr. Lee’s counsel. The
      objections were concise and made in a non-argumentative, non-suggestive manner. The
      Plaintiffs do not contend otherwise. If the Plaintiffs truly believed that the number of objections
      made by Toshiba’s counsel was unreasonable, it was incumbent upon them to file a motion with
      Judge Legge. They chose not to do so. The Plaintiffs also criticize Toshiba’s counsel for
      expressing his belief in the Jae In Lee deposition that the comments offered by Judge Legge
      during the Yamamoto deposition                                                                Jae In
      Lee Tr. at 115:8-9 (Pl. Ex. B). That statement, however, does not mean that Toshiba counsel
      was ignoring what Judge Legge said during the Yamamoto deposition. On the contrary, a fair
      reading of the Jae In Lee transcript reveals that Toshiba’s counsel was in fact making succinct
      objections, consistent with the purpose and intent behind the Federal Rules, as well as Judge
      Legge’s comments.

               The Plaintiffs’ description of an “ongoing” problem is curious given that their arguments
      are focused entirely on depositions that occurred over three months ago. By their letter, the
      Plaintiffs do not question many depositions that have occurred since the Yamamoto deposition
      where counsel for Toshiba have participated: (i) the July 11 – 12, 2013 deposition of Hitachi’s
      Thomas Schmitt; (ii) the July 16 – 17, 2013 deposition of LG’s Pil Jae Lee; (iii) the July 19 –
      20, 2013 deposition of LG’s Jin Kang Jung; (iv) the July 31 – August 2, 2013 deposition of
      Panasonic’s Masaki Sanogawaya; (v) the September 11 – 13, 2013 deposition of Samsung SDI’s
      J.Y. Youn; (vi) the September 25 – 27, 2013 deposition of Toshiba’s Shinichiro Tsuruta; and
      (vii) the October 8 – 9, 2013 deposition of Panasonic’s Masashi Muramatsu. Of these
      depositions, perhaps the Tsuruta deposition is the most noteworthy. If Toshiba’s counsel were
      engaging in “obstructionist” behavior, then certainly that behavior would have manifested itself
      during the recent deposition of one of Toshiba’s own employees. Yet, the Plaintiffs voice no
      complaints about the Tsuruta deposition. As a result, it is apparent that the Plaintiffs’ assertions
      of a “growing problem” of “obstructionist deposition tactics” are simply bereft of merit. Again,

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      we have followed both the letter and spirit of Judge Legge’s comments and will continue to do
      so in the future.

             B.      Limiting Deposition Objections To “Object To Form” Will Prejudice The
                     Toshiba Defendants

              Aside from the fact that there is no “obstructionist” behavior on the part of Toshiba’s
      counsel, there is a separate reason why the Court should reject the Plaintiffs’ request to limit
      deposition objections to “object to form.” Many of the cases in this MDL will be remanded to
      jurisdictions that require specific objections, not merely a generic “object to form.” Thus, the
      Toshiba Defendants would be prejudiced by the relief sought by Plaintiffs.

              Rule 30(c)(2) of the Federal Rules of Civil Procedure addresses deposition objections and
      provides, in relevant part, that “[a]n objection at the time of the examination . . . must be noted
      on the record . . . .” That rule further states that “[a]n objection must be stated concisely in a
      nonargumentative and nonsuggestive manner.” Fed. R. Civ. P. 30(c)(2). “This rule envisions
      that objections be made by stating the word ‘objection’ and then giving a brief statement of the
      specific legal grounds for the objection.” David Malone, et al., The Effective Deposition:
      Techniques And Strategies That Work 354 (National Institute for Trial Advocacy 2012).
      Discussing this rule, the 1993 Advisory Committee Notes to Rule 30 state that “objections on
      grounds that might be immediately obviated, removed, or cured, such as to the form of a
      question” should be made during the deposition. Fed. R. Civ. P. 30 (1993 Advisory Committee
      Notes) (emphasis added). Critically, Rule 32(d)(3)(B) provides that “[a]n objection to an error or
      irregularity at an oral examination is waived if (i) it relates to . . . the form of a question . . .
      that might have been corrected at that time” (emphasis added). The discovery and case
      management protocol for this case echoes these requirements by stating that “all depositions
      shall be conducted in accordance with all applicable Federal Rules of Civil Procedure” and
      providing that “[a]ll objections shall be stated concisely in a non argumentative and non
      suggestive manner.” Docket No. 1128, at 10.

             Making specific objections on the record (such as “objection, vague”; “objection, lacks
      foundation”) adheres to these rules. By making such objections, “objecting counsel makes clear
      the basis for objection without coaching the deponent, and questioning counsel has a fair
      opportunity to cure.” David Malone, et al., The Effective Deposition: Techniques And Strategies
      That Work, at 355. When an objecting attorney merely states “object to form,” the questioning
      attorney may not be put on sufficient notice to correct his or her error, and disputes may arise at
      trial. Thus, the Plaintiffs’ proposal to limit all objections to “object to form” cannot be
      reconciled with the purpose and intent behind the Federal Rules.

              It should not escape notice that the Plaintiffs’ own attorneys use specific objections
      during depositions. At the recently concluded deposition of Toshiba’s Mr. Tsuruta, counsel for
      the IPPs used the following objections during the cross-examination: “Objection. Calls for
      improper testimony from a lay witness. Calls for speculation. Calls for a legal conclusion.”
      Tsuruta Tr. at 443: 3 – 5 (Toshiba Ex. 1). Other examples of the Plaintiffs’ objections are
      contained in Toshiba Exhibits 2 – 5. The objections used by the Plaintiffs appear to be no
      different than the objections they discuss (and criticize) in their letter. Illustrative of the
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      Plaintiffs’ use of objections occurred during the deposition of Panasonic’s Masaki Sanogawaya.
      During that deposition — less than a month after the call with Judge Legge — Plaintiffs’
      counsel lodged multiple objections to numerous questions posed by the Defendants. According
      to the Plaintiffs, it is somehow inappropriate to make objections on multiple pages of a
      transcript. Yet, using the Plaintiffs’ metric, the Plaintiffs lodged objections on 24 of 25 pages
      during Defendants’ questions, i.e. 96 percent. (Toshiba Ex. 6). Here is a sample of Plaintiffs’
      objections:




      Sanogawaya Tr. at 508:19-24.




      Sanogawaya Tr. at 512:23-513:4; see also Sanogawaya Tr. at 511:18-25, 513:24-514:4, 519:1-7
      (Toshiba Ex. 6); ABC Warehouse Tr. at 57:4-11, 140:13-141:24, 231:18-23 (Toshiba Ex. 7)
      (during the August 23, 2013 Rule 30(b)(6) deposition of direct-action plaintiff ABC Warehouse,
      counsel for the Plaintiffs — who attended by phone — lodged multiple strings of objections and,
      contrary to sections IX and XI.A. of the Discovery Protocol, repeatedly “joined” the objections
      made by the witness’s attorney).

               Both Toshiba and the Plaintiffs have utilized specific objections during depositions in this
      case because that is the accepted manner in which to make such objections. See David Malone,
      et al., The Effective Deposition: Techniques And Strategies That Work, at 354 (“For example, an
      objection to a compound question would be stated as ‘Objection: Compound question.’”); Henry
      L. Hecht, Effective Depositions 351 (2d ed. 2010) (identifying the types of objections that are
      “waived if not made at the deposition” and noting that the defect identified by the objection
      “usually can be cured by rephrasing the question”); accord State Farm Mutual Automobile Ins.
      Co. v. Dowdy, 445 F. Supp. 2d 1289, 1293 (N.D. Okla. 2006) (listing “typical objections” such
      as vague, argumentative, asked and answered, and assumes facts not in evidence). Because this
      is an MDL case, the Toshiba Defendants need to make the type of objections that are generally
      accepted in jurisdictions across the United States, else they risk having those objections waived.
      Limiting Toshiba’s counsel to “object to form” is simply inadequate to preserve deposition
      objections.

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               In their letter, the Plaintiffs cite to several cases where the Court awarded sanctions due
      to deposition misconduct. Pl. Letter at 3. Those cases are inapposite because the Plaintiffs
      specifically state in their letter that they are not seeking sanctions. Pl. Letter at 5. In any event,
      the facts of those cases are not present here. See Craig v. St. Anthony’s Medical Center, 384
      Fed. Appx. 531, 532 (8th Cir. 2010) (unpublished) (“Our review of the relevant deposition
      reveals a substantial number of argumentative objections together with suggestive objections and
      directions to the deponent to refrain from answering questions without asserting a valid
      justification under Rule 30(c)(2).”); Morales v. Zondo, Inc., 204 F.R.D. 50, 54 (S.D.N.Y. 2001)
      (“Although the questions posed by Diedrich could certainly have been more focused, Nelson’s
      detailed objections, private consultations with the witness, instructions not to answer,
      instructions how to answer, colloquies, interruptions, and ad hominem attacks disrupted the
      examination of Elizondo and protracted the length of the deposition.”); Van Pilsum v. Iowa State
      University of Science and Technology, 152 F.R.D. 179, 180 (S.D. Iowa 1993) (“Mr. Barrett
      repeatedly took it upon himself to restate Defendants’ counsel’s questions in order to ‘clarify’
      them for the Plaintiff”); Unique Concepts, Inc. v. Brown, 115 F.R.D. 292, 293 (S.D.N.Y. 1987)
      (“Indeed, on practically every page Rosen interposes with a remark, an opinion, or speech
      lecturing the examiner.”).

              Elsewhere in their letter, the Plaintiffs cite to cases where the Court has instructed the
      parties to limit their deposition objections to “object to form.” Pl. Letter at 5. The standing
      order in the ODD case used by Magistrate Judge Spero follows the minority rule on this issue.
      Although perhaps sufficient for cases actually litigated in this district, that rule would prejudice
      the Toshiba Defendants in those originating jurisdictions that require specific objections. The
      facts in Perez v. State Farm Mutual Automobile Ins. Co., No. C-06-01962 JW (PSG), 2011
      WL 1496326 (N.D. Cal. Apr. 20, 2011), were extreme: during a very short deposition, defense
      counsel instructed the witness not to answer on 39 separate occasions and coached the witness by
      nodding his head with respect to certain questions. In order to curb this type of behavior, the
      Court instructed counsel to refrain from speaking objections and other forms of colloquy and to
      merely state “objection, form” when objecting to the form of a question. The extreme facts of
      Perez are not present here.

              By their letter, the Plaintiffs also identify certain objections in the pre-guidance
      Nishimaru and Yamamoto depositions that they consider to be “frivolous.” Pl. Letter at 3. We
      disagree. For example, the first objection that the Plaintiffs list — to “Do you speak English?”
      — was, in full context, entirely appropriate. We know from experience that these Plaintiffs use
      this seemingly innocuous question as a basis for attempting to coerce a witness to provide sworn
      testimony in English, rather than his native tongue, or for suggesting that the witness had a native
      speaker’s understanding of all communications he may have received in English. But there are
      obviously degrees of proficiency in English. And the question’s use of the present tense ignores
      the fact that the events in the case, when the witness’s facility with English may have been most
      relevant, were many years ago. Accordingly, Toshiba’s counsel lodged his concise, non-
      argumentative, and non-suggestive objection to preserve these arguments for trial.

             The Plaintiffs also complain about the objections made to the question, “What group did
      have authority to make pricing decisions, sir?” Pl. Letter at 3. At that point in the deposition,

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      the Plaintiffs’ counsel had laid no foundation at all that Mr. Yamamoto would be in a position to
      know the answer to this question. Plaintiffs’ counsel also did not limit her question to a time
      period or even a certain product or type of product, making the question almost indecipherable,
      particularly given that Plaintiffs’ counsel repeatedly used the term “CRTs” when referring to
      either CPTs, CDTs, or both. Moreover, the question assumes that there was such a “group,” a
      fact that had neither been established in Mr. Yamamoto’s deposition, nor in any other Toshiba
      deposition. Each objection made by Toshiba’s counsel pertains to these flaws and, therefore,
      provided Plaintiffs’ counsel an opportunity to cure them by, for example, laying the proper
      foundation and specifying the time period and product to which she was referring.

              We remain committed to working with the Plaintiffs to complete the remaining
      depositions in a professional manner, adhering to the discovery rules embodied in the Federal
      Rules of Civil Procedure and following the guidance set forth by Judge Legge. During our meet-
      and-confers with the Plaintiffs, we have identified certain issues where we believe the Plaintiffs
      can improve (for example, refraining from giggling and scoffing at the witnesses’ answers and
      avoiding the use of demonstrative and threatening hand gestures when examining the witnesses).
      These issues remain outstanding. Thus, if the Court is inclined to grant the Plaintiffs any relief,
      it should also specifically forbid the use of (1) intimidating or harassing hand gestures on the part
      of examining attorneys; and (2) commentary on the witnesses’ answers by other participants in
      the deposition (for example, giggling and scoffing). 1

      II.         The Deposition Errata Sheet For Yasuki Yamamoto Merely Makes Changes In
                  “Form or Substance,” As Authorized By Rule 30(d)

              By their letter, the Plaintiffs also challenge three types of changes contained in the errata
      sheet for Mr. Yamamoto, a Japanese speaker who testified at his deposition with the assistance
      of an interpreter. Mr. Yamamoto’s changes were modest and clarifying, easily justified by
      precedent.

              Pursuant to Rule 30(e) of the Federal Rules of Civil Procedure, a deponent may make
      “changes in form or substance” to the transcript. The rule permits: (i) corrective, not
      contradictory, changes to deposition transcripts; (ii) changes in form or substance; or
      (iii) changes where there is a plausible explanation for the contradiction. See Herring v.
      Teradyne, Inc., No. Civ. 01CV1835–L (JFS), 2002 WL 32068318, at *2 (S.D. Cal. Nov. 4, 2002)
      (“Under the majority approach, courts apply a broad reading to Rule 30(e)’s language, which
      permits deponents to make changes in form or substance and to append any changes made by the
      deponent to the filed transcript.”) (quoting Pepsi-Cola Bottling Co. of Pittsburgh v. Pepsico, Inc.,
      No. CIV.A.01-2009-KHV, 2002 WL 511506, at *2 (D. Kan. Apr. 3, 2002)). Because the errata
      entries challenged by the Plaintiffs are permissible changes in “form or substance,” the Court
      should deny the Plaintiffs’ request to strike those entries.



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          Not only is there no basis for Plaintiffs’ requested relief against the Toshiba Defendants, the Plaintiffs’ letter provides no basis
          to seek a change in the discovery and case management protocol against the remaining defendants in the case, whose deposition
          objections are not even mentioned in the Plaintiffs’ letter.
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             Hambleton Bros. Lumber Co. v. Balkin Enters., Inc., 397 F.3d 1217 (9th Cir. 2005), a
      case relied upon by the Plaintiffs, does not support their arguments. That case discusses the
      “sham rule,” i.e., when a party offers transcript changes “solely to create a material factual
      dispute in a tactical attempt to evade an unfavorable summary judgment.” Id. at 1225. No
      summary judgment motion has been filed in this case, and the Plaintiffs do not argue that
      Mr. Yamamoto’s errata entries were made to defeat summary judgment.

              The remaining cases cited by the Plaintiffs stand for the unremarkable proposition that
      plainly contradictory changes are outside the scope of Rule 30(e). See Tourgeman v. Collins Fin.
      Servs., Inc., No. 08-CV-1392 JLS (NLS), 2010 WL 4817990, at *2 (S.D. Cal. Nov. 22, 2010)
      (striking errata entries that “directly contradict Ms. Towns’s sworn deposition testimony”); Lewis
      v. The CCPOA Benefit Trust Fund, No. C-08-03228-VRW (DMR), 2010 WL 3398521, at *3-4
      (N.D. Cal. Aug. 27 2010) (Ryu, Mag.) (striking changes which were “about-face reversals from
      ‘yes’ to ‘no,’ or vice versa”); Teleshuttle Techs. LLC v. Microsoft Corp., No. C04-02927 JW
      (HRL), 2005 WL 3259992, at *2-3 (N.D. Cal. Nov. 29, 2005) (Lloyd, Mag.) (striking changes
      that “outright contradict[] his original answer by changing (1) ‘Yes’ to ‘No’ or ‘In part’; (2) ‘No’
      or ‘[C]an’t recall’ to ‘Yes’; (3) an actual or affirmative answer to ‘I don’t recall’ or ‘Not really’;
      or (4) one answer to another answer having the opposite meaning”). None of Mr. Yamamoto’s
      errata entries is contradictory in nature.

             A.      Mr. Yamamoto’s Errata Entry Changing              To              Is Not
                     Contradictory And Accurately Reflects Mr. Yamamoto’s Actual Testimony

              Mr. Yamamoto’s errata entries regarding his testimony about Exhibit 1790 (Yamamoto
      Tr. at 312:7, 312:17-21 (Pl. Ex. A)) — a document that he did not remember and had difficulty
      reading because it was in English — are allowable under Rule 30(e) for two reasons.

              First, Mr. Yamamoto’s errata entries do not “contradict” Mr. Yamamoto’s testimony. In
      fact, the clarification from             to              mimics the preceding sentence in the
      transcript. In this manner, Mr. Yamamoto’s change was “corrective, and not contradictory.”
      Johnson v. CVS Pharmacy, No. C 10-03232 WHA, 2011 WL 4802952, at *4 (N.D. Cal. Oct. 11,
      2011). In any event, the word                 is inherently ambiguous, susceptible to several
      interpretations. Use of the word         merely clarifies the witness’s testimony.

             Second, Mr. Yamamoto’s actual testimony was                    and not                  As we
      explained to the Plaintiffs in our October 10, 2013 letter, after the Plaintiffs raised this issue in
      Mr. Yamamoto’s errata sheet, we reviewed the portion of the DVD of Mr. Yamamoto’s
      deposition (both in English and in Japanese).



                                    We have included the DVD excerpt of this exchange with this
      submission so that the Court may listen to this exchange for itself. This excerpt is included as
      Clip 1 of Toshiba Exhibit 8


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             B.      Mr. Yamamoto Clarified His Testimony About Exhibit 1416, Clarifications
                     Which Are Contemplated By Rule 30(e)

              Likewise, Mr. Yamamoto’s errata entries regarding Exhibit 1416 (Yamamoto Tr. at
      431:12-13 (Pl. Ex. A)) — another document that Mr. Yamamoto did not recall — are clarifying,
      not contradictory. Mr. Yamamoto explained that his understanding of Exhibit 1416 was that the
      parties discussed estimated supply amounts.


              The Plaintiffs complain that changing                to                was “a substantive
      change, not a mere correction.” Pl. Letter at 8. We disagree. The word                           is
      ambiguous. The witness’s inclusion of the word                  merely clarifies his testimony. In
      explaining why Mr. Yamamoto’s change from                  to               was contradictory, the
      Plaintiffs assert that Mr. Yamamoto
                                          Pl. Letter at 7-8. This is incorrect. Mr. Yamamoto’s actual
      testimony disavows the existence of any price-fixing agreement:




      Yamamoto Tr. 429:3-7, 429:10-20 (Pl. Ex. A) (emphasis added). Instead of testifying about an
      agreement, Mr. Yamamoto specifically rejects the Plaintiffs’ counsel’s characterization of the
      document and testifies that his reading of the document was that the author was discussing the
      parties’ predictions on what the future market price would be.

             C.      Mr. Yamamoto’s Deletions Of “Yes” Or “Right” Clarify Otherwise
                     Confusing Testimony And Are Allowable

              Mr. Yamamoto also identified several instances during his deposition where the
      interpreter translated Mr. Yamamoto’s acknowledgement that he heard or understand a question
      at the beginning of his answer — phonetically, “Hai” — as “yes,” or “right,” as if Mr.
      Yamamoto was agreeing with the Plaintiffs’ question. See Pl. Letter at 8 n.8 (listing the
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      following errata entries: Yamamoto Tr. at 23:17, 32:23, 40:22, 51:17, 85:17, 116:15, 314:18,
      377:1 (Pl. Ex. A)). These errata entries clarify Mr. Yamamoto’s testimony and are not
      contradictory.

             The Plaintiffs first raised this issue with Mr. Yamamoto’s errata sheet during a meet-and-
      confer call on October 9, 2013. After the call, we reviewed the DVD of Mr. Yamamoto’s
      deposition. As we told the Plaintiffs in our October 10, 2013 letter, the video of his deposition
      shows that Mr. Yamamoto is simply acknowledging the question. DVD excerpts of these
      answers are included as Clips 2-8 of Toshiba Exhibit 8.

              A typical answer shows that Mr. Yamamoto removed the interpreter’s “right” in order to
      clarify his answers:




      Yamamoto Tr. at 23:11-13, 23:17-19 (Pl. Ex. A); see Johnson, 2011 WL 4802952, at *4 (finding
      errata entries proper when “even within her original deposition answers, plaintiff would
      occasionally first answer a question ‘yes’ and then respond with a ‘no,’ suggesting plaintiff was
      at least occasionally confused by the question”). As with the other deletions of “yes” or “right”
      that are challenged by the Plaintiffs, Mr. Yamamoto was simply acknowledging the question.
      Such acknowledgement of the question is a common practice of Japanese witnesses. Even
      English-speaking witnesses frequently acknowledge questions with “okay.” Such
      acknowledgement does not mean that the witness is agreeing with the question. Thus, the
      changes made by Mr. Yamamoto were entirely permissible.

                                                     ***
             For these reasons, the Plaintiffs’ request for relief should be denied.

      Respectfully submitted,




      Lucius B. Lau

      cc: All counsel via ECF

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